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     8                      UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
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    11 MICHAEL K. HAMRA, as trustee of            Case No. 2:18-CV-06262-CAS-GJSx
       the SAM F. HAMRA JR. AND JUNE
    12 S. HAMRA IRREVOCABLE TRUST,
                                                  [PROPOSED] ORDER OF
    13                     Plaintiff,             DISMISSAL WITH PREJUDICE
         v.
    14
       TRANSAMERICA LIFE INSURANCE
    15 COMPANY, a corporation; and DOES
       1-30,
    16
                     Defendants.
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    19         Based on the Parties’ Stipulation of Dismissal with Prejudice,
    20         IT IS HEREBY ORDERED THAT the entire action is dismissed with
    21 prejudice, with each Party to bear its own attorney’s fees and costs.
    22         IT IS SO ORDERED.
    23 Dated: October 20, 2021
    24                                         Hon. Christina A. Snyder
                                               United States District Judge
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